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                  EXHIBIT B
  GOVERNMENT
    EXHIBIT           Case: 1:18-cr-00035 Document #: 304-2 Filed: 09/04/20 Page 2 of 9 PageID #:4375
       32
Case: 1:18-cr-00035




                               61 Episodes in
                                  Exhibit 1
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                   Fill Ratio and Duration


                                                                              81.45
1                                                                                       90
              89.9%
1                                                                                       80

1
                                                                                        70

1
                                                                                        60
1
                                                                                        50
1
                                                                                        40


                                                                                        30


                                                                                        20



    0.2%                                                        2.93                    10




     Fill Ratio                                 Median Duration (Seconds)

              Visible Orders                         Iceberg Orders
              (1,391 Orders)                         (153 Orders)
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                               Average Order Size


                                                                        132 (visible)



            1 (visible)


                                57 (total)

                                                                                                132 (total)



            Iceberg                                                           Visible
            Orders                                                            Orders
0.5   0.7    0.9         1.1          1.3          1.5          1.7          1.9          2.1   2.3           2.5
          Case: 1:18-cr-00035 Document #: 304-2 Filed: 09/04/20 Page 5 of 9 PageID #:4378




                       Average Market Depth


Before                         45
Visible
Orders
Placed                       42



 After                                                                                      168
Visible
Orders
Placed                       41


                      Visible Side                   Iceberg Side
                      Case: 1:18-cr-00035 Document #: 304-2 Filed: 09/04/20 Page 6 of 9 PageID #:4379




                                          Notional Values
             $3,000
                                 $2.6 Billion
             $2,500

             $2,000
(Millions)




             $1,500

             $1,000

              $500                                                                    $421 Million


                $0
                              Visible Order                                         Iceberg Order
                             Value Canceled                                          Value Filled
                 Case: 1:18-cr-00035 Document #: 304-2 Filed: 09/04/20 Page 7 of 9 PageID #:4380




                          Iceberg Order Value Filled




                                While Visible
                                Orders Active:
                                 $133 Million
Iceberg Order                        (32%)
 Value Filled:                   (10 Minutes)
  $421 Million                                                  While Visible Orders
 (3 Hours and                                                       Not Active:
  30 Minutes)                                                       $288 Million
                                                                       (68%)
                                                                 (3 Hours and 20
                                                                     Minutes)
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                   Iceberg Order Value Filled Per Minute

             $14                                                                 $13.0 Million
             $12
             $10
(Millions)




             $8
             $6
             $4
             $2            $1.4 Million

             $0
                         While Visible                                          While Visible
                          Orders Not                                            Orders Active
                            Active
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                      Visible Order Sizes


Order Size                       # of Orders                             %

10-Lot Group                           1,311                          94%
  101 Lots                                45                            3%
  100 Lots                                25                            2%
    Other                                 10                            1%
    Total                              1,391                         100%
